Case 3:22-cv-00621-TSL-RPM Document 18 Filed 03/06/23 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

NORTHERN DIVISION
BRAZ COLEMAN PLAINTIFF
VERSUS CIVIL ACTION NO. 3:22-cv-00621-TSL-RPM
LAUDERDALE COUNTY, et al. DEFENDANTS

WAIVER OF THE SERVICE OF SUMMONS
To: Clerk of Court

I have received the Court’s request to waive service of a summons in this action along with a copy of the complaint
and a copy of this waiver form.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the Court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

I also understand that I, or the entity I represent, must file and serve an apswer or other motion under Rule 12 within
60 days from the date when this request was sent.

 

Date: 3-6-2023

 

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Printed name~

 

Printed name of cach partywaiving service of summons A Const bichon Kve., Meridian, ms, 480)
Address
thaagard©@ bbtmledal Lom
E-mail Gddress
LoOi- 99-9393

Telephone number

 

Duty to Avoid Unnecessary Expense of Serving a Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of
serving a summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service
requested by a plaintiff located in the United States will be required to pay the expenses of service, unless the defendant shows good
cause for the failure.

“Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in improper venue, or that the
court has no jurisdiction over this matter or over the defendant or the defendant’s property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the
absence of a summons or of service.

If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12
on the plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a
summons had been served.
